Case 18-13243 Doc 29 Filed 01/03/19 Entered 01/03/19 16:16:22 Page 1 of 1

PROCEEDING MEMO AND MINUTES OF
THE CHAPTER 7 §341 MEETING
DATE 01/03/19 09:00am

Inre: TRAN, DUC Case No. 18-13243 EWM
MAI, LYNN SECTION A
APPEARANCES:
( 4, DEBTOR 1 A DEBTOR 2 (Wife in Joint Cases)
( Y Required picture I.D. produced We Reduired picture |.D. produced
(¥) Required SSN verification produced (

Required SSN verification produced
(7) Pay advices received Aba advices received

Credit counseling certificate (iiled ( ) not filed

Tax returns received for x0/7 (years) on__ / 2/ ah) 3

Financial Documents were (V{ retained by trustee ( ) returned to debtor(s)

( A ATTORNEY REPRESENTATIVE
(

 

ATTORNEY FOR DEBTOR(S):
( ) DEBTOR(S) APPEARED PRO SE
YES( ) NOC )If Pro Se, did anyone assist with preparation?
YES( ) NO )If Yes, debtor has completed pro se form?
THE MEEVING OF CREDITORS WAS:

 

(/) HELD
or

(_) NOT HELD
or

(_) NOT CONCLUDED AND IS CONTINUED TO THE DAY OF
2019 AT O'CLOCK M.

YES (f) NO(_) Has attorney for debtor filed statement of compensation pursuant to 11
U.S.C. 329?

CREDITOR(S)

 

 

DEBTOR(S) REQUIRED TO:
(_ ) AMEND Schedules and Statements within Days of 341(a) Meeting.

( ) OTHER:

 

 

 

In accordance with Rule 6007, FRBP, the trustee announced an intention to abandon any interest
in:

Non-exempt household furnishings. i Wwe- i . iFie- isieane, 2005
Dodge Ram, 2019 Jeep Cherokee, 2 basic bicycles, Funds or-Deposit of $3-66"

wedding bands & yniscellanecus castwrre. jewelry,

ADDITIONAL NOTES:

DATED:___ 01/03/19 TRUSTEE Pi bidor

TRACK# (409

 

 

 

 
